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IN THE UNITED sTATES DISTRICT coURT F#`!-~ %'
FOR THE wEsTERN DISTRICT oF TENNESSEE `

wEsTERN DIvIsION 95 JUF*=’ZL* i~‘;#.`i.~ "

 

 

UNI'I'ED STATES OF' AMERICA

Plaintiff,

Criminal No .,,‘ZOLF ~ 2 05§ >Ml

(30-Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CON'I'INUANCE
AND EXCLUSION OF 'I`IME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the July, 2005,
criminal rotation calendar, but is now RESET for report at §;QQ
a.m. on Fridav, Julv 22, 2005, with trial to take place on the
August, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through August 12, 20055 Agreed in open court at

report date this 24th day of June,'2005.

This doctment entered on the docket sheet ln eompllance
with Rule 55 and/er 32!\:)) FHCrP on '

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SO ORDERED this 24th day of June, 2005.

w mrth

JON PHIPPS MCCALLA
UN TED S'I`ATES DIS'I'RICT JUDGE

 

L)/"/\_/_

As ' nt United States Attorney

Qz>//j

 

 

 

Counsel for Defendant(s)

ISTRIC COUR - W'"ERNT D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:04-CR-20402 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

 

Greg Gilluly

US ATTORNEY'S OFFICE
167 N. Main St.

Ste 800

l\/lemphis7 TN 38103

William C. Anderson
ANDERSON LAW FIRM
142 North Third St.
l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

